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                                UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA

                                          Case No.:_____-Civ-

                                                     )
     COMMODITY FUTURES TRADING                       )
     COMMISSION,                                     )
                                                     )    Hon.___________________
                      Plaintiff,                     )
                                                     )
                      vs.                            )
                                                     )
     TIMOTHY JOSEPH ATKINSON, JAY                    )
     PASSERINO, ALL IN PUBLISHING,                   )
     LLC, & GASHER, INC.,                            )
                                                     )
                      Defendants.                    )
                                                     )

      COMPLAINT FOR INJUNCTIVE AND EQUITABLE RELIEF AND PENALTIES
                 UNDER THE COMMODITY EXCHANGE ACT

            The Commodity Futures Trading Commission (“CFTC” or “Commission”), by and

     through its attorneys, hereby alleges as follows:

                                          I.      SUMMARY

            1.        Beginning in at least October 2013 through at least November 2016

     (“Relevant Period”), Timothy Atkinson, Jay Passerino, All in Publishing, LLC, and Gasher,

     Inc. (collectively, “Defendants”), acting as affiliate marketers and as commodity trading

     advisors (“CTAs”), conducted at least twenty-nine (29) fraudulent binary options affiliate

     marketing campaigns in which they fraudulently solicited tens of millions of prospective

     customers to open and fund illegal, off-exchange binary options trading accounts (“binary

     options account(s)”) through websites operated by unregistered binary options brokers

     (“Broker(s)”).
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            2.      As affiliate marketers and CTAs, Defendants disseminated–and recruited

     other affiliate marketers to disseminate on their behalf–fraudulent marketing campaigns

     which advised unsuspecting prospective customers to open and fund binary options accounts

     with Brokers to get free access to Defendants’ automated trading software that purported to

     generate astronomical profits with no risk of loss. Defendants’ marketing materials included

     numerous false and misleading statements about the advertised trading software, including:

     (i) fictitious trading performance and account statements showing consistent profits with no

     losses; (ii) actors depicted as true users and/or creators of the binary options automated

     trading software falsely claiming they had earned significant profits through use of the

     software; and/or (iii) false representations of actual live automated binary options trading and

     results using the advertised software.

            3.      During the Relevant Period, millions of prospective customers viewed

     fraudulent marketing websites and sales videos that Defendants created and/or disseminated

     which advised customers to open binary options accounts with purported “recommended”

     Brokers and use Defendants’ automated trading software. In response to this marketing, at

     least 51,000 customers deposited at least $12,750,000 to initially fund their accounts.

            4.      Defendants received a flat commission from a Broker, customarily between

     approximately $350 and $450, for every customer that viewed one of their online campaigns

     and opened and funded a binary options account with a Broker as a result. During the

     Relevant Period, Defendants received over $27 million related to binary options affiliate

     marketing. Defendants also earned commission from disseminating thousands of




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     solicitations that included material false or misleading statements and information that other

     affiliate marketers created.

            5.        Defendants intentionally or recklessly included materially false or misleading

     statements and information in the marketing materials they sent out to prospective customers

     and customers.

            6.        By virtue of this conduct and further conduct described below, Defendants

     have engaged, are engaging, or are about to engage, in acts and practices in violation of the

     following sections of the Commodity Exchange Act (“Act”), 7 U.S.C. §§ 1-26 (2012), and

     accompanying regulations (“Regulation(s)”), 17 C.F.R. Pts. 1-190 (2018):

            a.        Section 4c(b) of the Act, 7 U.S.C. § 6c(b) (2012), and Regulation 32.4,

                      17 C.F.R. § 32.4 (2018), which prohibit fraud in connection with commodity

                      options transactions;

            b.        Section 4o(1) of the Act, 7 U.S.C. § 6o(1) (2012), which prohibits fraud by,

                      among others, a CTA;

            c.        Section 6(c)(1) of the Act, 7 U.S.C. § 9(1) (2012), and Regulation 180.1(a)(1)-

                      (3), 17 C.F.R. § 180.1(a)(1)-(3), (2018), which prohibit deceptive devices,

                      schemes and/or artifices in connection with, among other things, swap

                      transactions and prohibit false statements;

            d.        Regulation 4.41(a), 17 C.F.R. § 4.41(a) (2018), which prohibits fraud in

                      advertising by, among others, a CTA or any principal thereof, and also

                      mandates that certain disclosures appear prominently with any testimonials;

                      and



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             e.      Regulation 4.41(b), 17 C.F.R. § 4.41(b) (2018), which mandates that certain

                     disclosures appear prominently and in immediate proximity to any advertised

                     hypothetical or simulated trading results or performance.

             7.      Accordingly, pursuant to Section 6c of the Act, 7 U.S.C. § 13a-1 (2012), the

     Commission brings this action to enjoin Defendants’ unlawful acts and practices and to

     compel Defendants’ compliance with the Act and Regulations, and to further enjoin

     Defendants from engaging in certain commodity options and swaps-related activities.

             8.      In addition, the Commission seeks civil monetary penalties and remedial

     ancillary relief, including, but not limited to, trading and registration bans, restitution,

     disgorgement, rescission, pre- and post-judgment interest, and such other relief as the Court

     may deem necessary and appropriate.

             9.      Unless restrained and enjoined by this Court, Defendants are likely to

     continue to engage in the acts and practices alleged in this Complaint and similar acts and

     practices, as more fully described below.

                                   II.     JURISDICTION & VENUE

             10.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 (2012)

     (federal question jurisdiction) and 28 U.S.C. § 1345 (2012) (district courts have original

     jurisdiction over civil actions commenced by the United States or by any agency expressly

     authorized to sue by Act of Congress). Section 6c(a) of the Act, 7 U.S.C. § 13a-l(a) (2012),

     authorizes the Commission to seek injunctive relief against any person whenever it shall appear

     that such person has engaged, is engaging, or is about to engage in any act or practice that violates

     any provision of the Act or any rule, regulation, or order promulgated thereunder.



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            11.     Venue properly lies with this Court pursuant to Section 6c(e) of the Act,

     7 U.S.C. § 13a-1(e) (2012), because Defendants are found in, inhabit, or transact business in

     the Southern District of Florida, and the acts and practices in violation of the Act and

     Regulations have occurred within this District, among other places.

                                        III.    THE PARTIES

            12.     Plaintiff Commodity Futures Trading Commission is the independent

     federal regulatory agency charged with the administration and enforcement of the

     Commodity Exchange Act and regulations promulgated thereunder.

            13.     Defendant All In Publishing, LLC (“AIP”) was established as an Arizona

     limited liability company in 2012. On or about February 19, 2014, AIP became a Florida

     limited liability company with its principal place of business in Miami, Florida. At all times

     relevant, Defendant Timothy Atkinson has been the owner, member, and president of AIP.

     AIP has never been registered with the Commission in any capacity.

            14.     Defendant Timothy Joseph Atkinson (“Atkinson”) is an individual who

     resides in Miami, Florida. During the Relevant Period, Atkinson was the sole owner and

     president of AIP. Atkinson was also a signatory to and controlled AIP’s bank accounts, and

     otherwise controlled and supervised all AIP business. Atkinson has never been registered

     with the Commission in any capacity.

            15.     Defendant Jay Passerino (“Passerino”) is an individual who resides in

     Miami, Florida. From January 2014 through approximately October 2016, Passerino

     controlled and oversaw the day-to-day operations of AIP, represented himself to others as the

     Vice President of AIP, and shared in profits of the company for his services. During the



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     Relevant Period, Passerino was also a signatory to AIP’s bank accounts and conducted AIP

     business in his own name and also in the name of an entity that he owned called Gasher, Inc.

     Passerino has never been registered with the Commission in any capacity.

            16.     Defendant Gasher, Inc. (“Gasher”) was incorporated as a Florida Corporation

     in 2013. During the Relevant Period, Gasher’s principal place of business was in Miami,

     Florida and Passerino owned Gasher and served as its president. During part of the Relevant

     Period, i.e., between at least January 2014 and approximately October 2016, Gasher provided

     services to AIP for consulting and also received payments from AIP for Passerino’s

     operation of AIP business. Passerino conducted AIP business in his own name and in the

     name of Gasher up until the time that Gasher and Passerino severed their relationship with

     AIP around October 2016. AIP, through Atkinson, used “gasherinc” as a username when

     engaging in binary options affiliate marketing activities. Gasher has never been registered

     with the Commission in any capacity.

                              IV.     OTHER RELEVANT PARTIES

            17.     Partner is an Israeli company with its principal place of business in Tel Aviv

     and two Israeli individuals who own the company and conduct its various business activities

     related to binary options. Partner has never been registered by the Commission in any

     capacity.

            18.     Partner worked with Defendants on Defendants’ binary options marketing

     campaigns and made payments to Defendants related to those activities. For example,

     Partner supplied and/or procured the trading software advertised in Defendants’ campaigns

     and which customers used to trade their accounts. Partner also selected Brokers for



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     Defendants’ campaigns and controlled the webpages on Defendants’ campaign websites

     which directed customers to various Brokers. By controlling those links, Partner was the

     actual, but undisclosed, intermediary which directed customers to various binary options

     Brokers.

                        V.     STATUTORY BACKGROUND AND FACTS

     A.     Prohibition Against Off-Exchange Retail Swaps and Options Trading

            19.     Section 1a(12)(A) of the Act, 7 U.S.C. § 1a(12)(A) (2012), defines

     “commodity trading advisor” as any person who “for compensation or profit, engages in the

     business of advising others, either directly or through publications, writings, or electronic

     media, as to the value of or advisability of trading in” any commodity for future delivery,

     security futures product, swap, and/or commodity option.

            20.     Section 2(e) of the Act, 7 U.S.C. § 2(e) (2012), makes it unlawful for “any

     person, other than an eligible contract participant, to enter into a swap unless the swap is

     entered into on, or subject to the rules of, a board of trade designated as a contract market

     under section 5 [7 U.S.C. § 7].”

            21.     7 U.S.C. § 1a(47)(A) defines “swap” to include, among other things, any

     agreement, contract, or transaction that: (a) is an option of any kind; (b) provides for payment

     dependent on the occurrence, nonoccurrence, or the extent of the occurrence of an event or

     contingency; or (c) provides on an executory basis for payments based on the value or level

     of one or more interest or other rates, currencies, commodities, securities, instruments of

     indebtedness, indices, quantitative measures, or other financial or economic interests or

     property of any kind, without also conveying an ownership interest in any asset or liability.



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             22.     Section 4c(b) of the Act, 7 U.S.C. § 6c(b) (2012), makes it unlawful for any

     person to offer to enter into, enter into, or confirm the execution of, any transaction involving

     any commodity regulated under the Act which is of the character of, or is commonly known

     to the trade as, inter alia, an “option”, “bid”, “offer”, “put”, or “call”, contrary to any rule,

     regulation or order of the Commission prohibiting any such transaction or allowing any such

     transaction under such terms and conditions as the Commission shall prescribe.

             23.     Regulation 32.2, 17 C.F.R. § 32.2 (2018), makes it unlawful for any person to

     offer to enter into, enter into, confirm the execution of, maintain a position in, or otherwise

     conduct activity related to any transaction in interstate commerce that is a commodity option

     transaction, unless such transaction is conducted in compliance with and subject to the

     provisions of the Act, including any Commission rule, regulation, or order thereunder,

     otherwise applicable to any swap.

             24.     None of the Brokers to which Defendants, through Partner, directed their web

     traffic from their campaigns was registered with the Commission in any capacity.

     B.      Overview of Defendants’ Scam: Affiliate Marketing in Binary Options

             25.     This case involves affiliate marketing involving binary options transactions.

     A binary option is a type of option contract in which the payout depends entirely on the

     outcome of a discrete event – usually a “yes/no” proposition. The yes/no proposition

     typically relates to whether the price of a particular asset will rise above or fall below a

     specified amount at a specified date and time. For example, the yes/no proposition might be

     whether the price of silver will be higher than $33.40 per ounce at 11:17 am on a particular




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     day, or if the exchange rate between the US Dollar and the Euro will be above $1.18 at

     2:15 pm on a given day.

            26.        Once the option holder acquires a binary option through payment of a

     premium, there is no further decision for the holder to make as to whether or not to exercise

     the binary option because binary options exercise automatically. Unlike other types of

     options, a binary option does not give the holder the right to purchase or sell the underlying

     asset—instead, it is “cash settled.” When the binary option expires, the option holder is

     entitled to a pre-determined amount of money if the customer has made a correct prediction.

     If the customer has made an incorrect prediction, he or she gets nothing and loses the entire

     premium paid.

                  i.       Binary Options Affiliate Marketing

            27.        There are various players participating in binary options schemes. They

     include affiliate marketers, Broker intermediaries, Brokers and the trading platforms.

     Customers open trading accounts with Brokers and deposit funds into those accounts through

     Brokers. Affiliate marketers either work directly with Brokers or they use Broker

     intermediaries to direct prospective customers and customers from their marketing

     campaigns to the Broker website.

            28.        This case primarily involves affiliate marketers. Affiliate marketers initiate

     the binary options fraudulent scheme by creating and disseminating solicitations that include

     material false or misleading statements to induce prospective customers to open an account

     and trade binary options through a Broker.




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            29.     Affiliate marketing is a form of performance-based marketing that is

     predominantly conducted via email solicitations and promotional materials made available on

     internet websites. An affiliate marketing campaign is a promotion of a product/service

     designed to convince the audience to take a specific action, including purchasing a product or

     service or opening and funding a trading account. Affiliate marketing is referred to as a

     campaign or funnel because the advertising is designed to funnel (i.e. drive) customers to the

     service provider or product owner. Affiliate marketing occurs in various business segments,

     including Internet Marketing (“IM”), Business Opportunities (“BizOp”), Foreign Exchange

     (“Forex”), Binary Options, and, more recently, Virtual Currencies.

            30.     Affiliate marketers in binary options either act as Affiliates or sub-affiliates.

     Affiliates interface with Brokers or Broker intermediaries and are generally responsible for

     creating marketing materials. Affiliates generally come up with a marketing angle, write or

     procure a script with fictional characters and trading results, and then produce (or retain

     someone to produce) sales videos based on those scripts which advise prospective customers

     to use binary options “software” or “automated tools” that purportedly activate upon funding

     a trading account with a specified Broker. Affiliates also generally create solicitation

     communications that include materially false or misleading information disseminated

     through email to lead lists. At times, Affiliates use solicitation materials created by others

     that they “partner” with for specific binary options campaigns.

            31.     Affiliates may also act as recruiters for the binary options advertising

     campaign by soliciting other sub-affiliates to send out the Affiliates’ marketing or solicitation

     materials to the sub-affiliates’ lead lists. Affiliates also disseminate marketing materials for



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     their own campaigns to their lead lists. Affiliate marketers’ and sub-affiliates’ lead lists can

     range from thousands to millions of email addresses.

            32.     Binary options affiliate marketers depended upon each other to “support” their

     campaigns to reach as many prospective customers as possible and thus increase the

     likelihood of converting the leads to new trading accounts. To avoid stepping on toes and

     saturating the market, Affiliates established systems whereby they each signed up for dates to

     launch their campaigns. While not all Affiliates followed the “calendar”, failing to abide by

     its schedule could result in less (or no) support from sub-affiliates. Affiliates skirted the

     “rules” by establishing strategic partnerships with other Affiliates who managed the front-

     end of a marketing campaign by recruiting sub-affiliates and identifying the campaign as

     their own in exchange for sharing in the profits of the campaign.

            33.     The solicitation communications used by Affiliates and sub-affiliates include

     an embedded link to a campaign website that is usually prepared by Affiliates (or their

     partners). The first landing page for the campaign–i.e., where the link in the email is

     directed–generally includes streaming sales video and an “opt-in” where a potential customer

     enters his or her name and email to get access to the full sales video and/or for more

     information. Affiliates mine that data to add to their “lead lists” for future campaigns.

     Campaigns with multiple web pages usually include additional opportunities for a customer

     to further opt-in by providing additional personal data to open a trading account with the

     designated Broker; that page may also have a second video. Affiliates and call centers

     established by the Broker follow up via email or telephone calls with prospective customers

     who fail to open or fund an account or who have questions before doing so.



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            34.     In this matter, Defendants did not work directly with any Brokers and instead

     relied on Partner to serve as their Broker intermediary. Broker intermediaries maintain direct

     relationships with various Brokers and select which ones to use for each campaign. Broker

     intermediaries generally use multiple Brokers for each campaign and obtain commission

     payments directly from Brokers for each customer that opens and funds a trading account for

     the first time (known in the industry as a first time depositor, (“FTD”). Brokers pay a flat

     commission for each FTD that deposits a minimum threshold (generally $250), regardless of

     the customer’s subsequent trading results or deposits. Broker intermediaries also pay the

     Affiliates with whom they work a portion of the commission that they receive from Brokers;

     Affiliates generally earn between $250 to $450 in commission per FTD. Affiliates then

     determine the sub-set of their commission that they pay-out to sub-affiliates.

                    ii. Defendants’ Roles as Affiliates & Sub-Affiliates

            35.     During the Relevant Period, Defendants and Partner worked together to

     launch fraudulent binary options campaigns as Affiliates. Defendants also acted as sub-

     affiliates in connection with Partner.

            36.     During the Relevant Period, Defendants disseminated fraudulent solicitations

     and earned commissions from at least twenty-nine (29) fraudulent binary options advertising

     campaigns as Affiliates and/or sub-affiliates: (1) Automated Income App (late 2013/early

     2014); (2) Autobitcoin Cash (February 2014); (3) Binary Pilot (~February 2014); (4) Golden

     Goose Method (“GG”) (January 2014-March 2014); (5) Push Button Millionaire (February

     2014-September 2015); (6) Daily Binary Profit/Binary Profits Daily (March 2014); (7) Rock

     Star Commissions (March 2014); (8) Income Rush (March 2014); (9) Profit Partners (March




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     2014); (10) Easy Profits (March 2014); (11) Auto Money App (“AMA”) (June 2014-July

     2015); (12) Cash Code (“CC”) (June 2014-April 2016); (13) Free Money System (“FMS”)

     (June 2014); (14) Free Money App (June 2014-June 2015); (15) Quick Cash System (June

     2014-May 2016); (16) Easy Money Machines (June 2014-June 2015); (17) Free Cash (July

     2014-October 2015); (18) Secret Millionaire Society (October 2014-June 2015); (19) Cash

     Software (October 2014-December 2014); (20) Money Platform (January 2015); (21) Push

     Button Commissions (January 2015-April 2015); (22) Copy Op (February 2015-May 2015);

     (23) Copy Trade Profit (April 2015); (24) Binary Cash Creator (“BCC”) (May 2015-March

     2015); (25) Free Millionaire System (May 2015); (26) Easy Money Method (May 2015);

     (27) Fast Cash (October 2015-June 2016); (28) Push Money App (“PMA”) (June 2016-

     October 2016); and (29) Click Money System (“CMS”) (October 2016).

            37.      Of those campaigns, Defendants acted as Affiliates for at least twenty (20),

     including: (1) Automated Income App ; (2) GG; (3) Push Button Millionaire; (4) Rock Star

     Commissions ; (5) AMA; (6) CC; (7) FMS; (8) Free Money App; (9) Quick Cash System ;

     (10) Easy Money Machines; (11) Free Cash; (12) Secret Millionaire Society; (13) Cash

     Software; (14) Push Button Commissions; (15) Binary Cash Creator; (16) Free Millionaire

     System; (17) Easy Money Method; (18) Fast Cash (October 2015-June 2016); (19) PMA;

     and (20) CMS.

            38.      Defendants’ campaigns marketed trading software, systems, and applications

     (“Trading System(s)”) which purported to successfully trade automatically or provide

     profitable trading recommendations in binary options related to commodity futures, swaps,

     foreign exchange currency pairings, rates, indices, securities, and/or other assets.



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            39.     As Affiliates, Defendants lured customers in their marketing campaigns by

     promising free access to their advertised Trading Systems. Their marketing materials

     included campaign websites, emails, and sales videos. Defendants’ goal was to earn

     commissions by inducing prospective customers to open and fund binary options trading

     accounts.

            40.     Some solicitation materials explicitly referenced the underlying asset for

     binary options as commodity futures, currency pairings, and/or swaps. Other campaigns

     depicted screenshots showing those assets as available to trade and/or as having been traded

     using the marketed Trading Systems.

            41.     For each of the twenty-nine campaigns for which Defendants acted as

     Affiliates and/or sub-affiliates, Defendants sent bulk email solicitations designed to entice the

     recipients to click an embedded electronic link in the email that routed the user to the related

     binary options campaign websites (“website). Each website, in turn, included a streaming

     VSL created or procured by Defendants, their partners, or other Affiliates.

            42.     When acting as an Affiliate for at least twenty campaigns, Defendants

     generated websites that served as the vehicles through which Defendants carried out their

     binary options campaigns.

            43.     Defendants paid for and registered the domain names associated with

     Defendants’ campaign websites, which generally included some variation of the campaign

     name like http://automoneyapp.com for AMA, or http://fastcash.biz for Fast Cash.

            44.     Passerino (and/or AIP employees or independent contractors that Passerino

     oversaw) had primary responsibility for registering Defendants’ campaign website domains,



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     setting up the hosting, uploading Defendants’ content, and managing the technical aspects of

     the campaign. Atkinson also usually tested the functionality of the campaign websites.

            45.     Passerino and an AIP employee/independent contractor that he oversaw also

     communicated with Partner concerning technical issues related to the campaign websites and

     responding to customer complaints.

            46.     Defendants’ campaign websites generally contained multiple webpages,

     including a landing page, members’ page, and registration page. Prospective customers

     arrived at Defendants’ landing page(s) of their websites by clicking on a link embedded in an

     unsolicited email (“spam”) or internet advertisement. Defendants’ landing pages typically

     consisted of a single webpage with a streaming VSL, along with a field for the customer to

     enter a name and email address to get more information and/or open and fund an account to

     gain access to the marketed Trading System. AIP Defendants mined that data to add to their

     lead lists for future spamming.

            47.     Defendants’ members’ pages often included another VSL and forms to

     register and/or open a binary options account. Prospective customers could usually fund

     their new account through the third registration webpage, which was also registered and

     hosted by AIP Defendants, but controlled by Partner and/or the selected Brokers.

            48.     Partner had direct relationships with Brokers, selected which ones to use for

     each of Defendants’ campaigns, tracked progress with each Broker, and managed those

     relationships. Partner used multiple Brokers for each of Defendants’ campaigns.

            49.     Partner worked with the Brokers to make sure that the Brokers’ sales

     representatives were ready to “convert” prospective customers directed to them through



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     Defendants’ campaigns who had not already opened and funded a trading account.

     Defendants knew that Brokers used their fraudulent marketing materials to re-solicit and

     follow up with those prospective customers via email and sales calls. In fact, before

     Defendants launched a campaign, Partner disseminated links to the campaign website to the

     Brokers with instructions for them to watch the VSL and try out the Trading System “so

     they’ll know how to attack it and get the right bullets.”

            50.       Atkinson (individually and on behalf of Defendants) created and/or procured

     approximately twenty of the VSLs streamed on the campaign websites and otherwise used

     sales videos provided by Partner. AIP, through Atkinson, Passerino, and others, intentionally

     or recklessly included materially false or misleading statements in VSLs used in Defendants’

     marketing campaigns.

            51.       Defendants’ solicitation emails and corresponding campaign websites

     contained numerous false or misleading statements about the marketed Trading Systems’

     performance, results, and risk of loss. Defendants intentionally or recklessly disseminated

     these false or misleading statements. Atkinson even bragged to Affiliates about what he

     called his “scams”.

            52.       Defendants, directly or indirectly, sent tens of millions of emails fraudulently

     soliciting binary options accounts during the Relevant Period for the twenty campaigns that

     they launched.

            53.       Defendants, primarily by Passerino, also sent thousands of solicitation emails

     when acting as sub-affiliates for binary options campaigns.




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            54.     Defendants received a pre-determined, flat commission (generally between

     $350-$450) from a Broker for each FTD resulting from their solicitation efforts. The

     Brokers that Defendants ran campaigns for generally required a customer to deposit at least

     $250 to open a trading account and qualify as an FTD.

            55.     Defendants relied on sub-affiliates and individuals in the industry that

     purchased advertisement banners or other forms of “media” to help drive prospective

     customers to their fraudulent campaign websites.

            56.     Defendants often ran contests with prizes for their launches to encourage sub-

     affiliates and media buyers to promote their campaigns more aggressively. Defendants

     regularly paid thousands of dollars as prizes in these contests and in at least one instance

     awarded a Rolex to the winner.

            57.     Following receipt of their commissions, Defendants paid-out to sub-affiliates

     a portion of the total commissions for FTDs opened from the sub-affiliates’ efforts.

     Defendants retained their own commissions in addition to the difference between the total

     commission and the portion paid-out to sub-affiliates as the “advertiser profits” for each of

     their campaigns. Defendants and Partner shared in the advertiser profits for their campaigns.

            58.     When acting as sub-affiliates for other Affiliates’ campaigns, Defendants

     frequently earned prizes based on their performance, including thousands of dollars in cash

     and/or in kind rewards.

            59.     In addition to commissions and advertiser profits, Defendants’ campaigns

     generated the personal information of prospective customers and/or customers from their




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     launches. Defendants mined that data to use in future campaigns and/or sold it to other

     affiliate marketers.

            60.     Defendants intentionally or recklessly disregarded that the stories, characters,

     trading performance results, and testimonials included in the marketing materials they

     created and/or prepared by Partner were fictitious. Defendants intentionally or recklessly

     published this false or misleading information in VSLs as part of their marketing campaigns

     on the internet.

            61.     Defendants knew or were reckless in not knowing that the materials they

     disseminated as sub-affiliates were false and misleading. Atkinson even joked with other

     affiliate marketers about mailing out their fraudulent solicitations knowing they were scams,

     targeting the elderly, doing a fundraiser for the customers to “put them back on track” to

     scam them again, among other things.

            62.     Defendants’ marketing materials failed to include the required 17 C.F.R.

     § 4.41 disclosures.

     C.     Defendants’ Fraudulent Email Solicitations

            63.     Passerino had responsibility for sending out bulk spam emails for campaigns

     to prospective customers on behalf of Defendants. Passerino did so for the fraudulent

     campaigns Defendants launched and also when Defendants acted as a sub-affiliate for

     fraudulent binary options campaigns launched by others.

            64.     Atkinson directed Passerino to manage the spamming part of AIP business

     (and operations in general) and oversaw those activities. Passerino bragged to other affiliates

     about his role at AIP: “Tim doesn’t pay me, I pay him . . . latr!!!!!crooksssss”.




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             65.    Defendants’ mass emails contained numerous false or misleading statements

     about the advertised Trading Systems, e.g., that customers can and have already “made

     millions” trading with the Trading Systems, or that customers made hundreds in profits in

     seconds, thousands in a day, and became millionaires in a few months. The emails often

     created the appearance of urgency by stressing that “spots are limited” or “time is running

     out.”

             66.    Defendants wrote or hired professionals to write short targeted emails

     (“swipes”) for Defendants’ campaigns, primarily to use as follow-ups with prospective

     customers who didn’t take the bait with just the initial solicitation. Defendants used that

     content to spam prospective customers on their lead lists. Defendants also made the swipes

     available to sub-affiliates for them to use while promoting Defendants’ campaigns.

             67.    For example, in or about June 2014, Atkinson retained the services of a

     copywriter to generate swipes for the FMS campaign. Atkinson explained to the copywriter:

     “We want hypey spam emails . . . Please review these swipes

     http://easymoneymachines.com/juv/ [(from a prior Defendants binary options campaign).]

     Try to create subject lines that trick people to open the emails ..[.] Then short, precise swipes

     to get them to click thru. That is our goal.”

             68.    Defendants created and/or procured similarly deceptive swipes for each of its

     campaigns. Some of Defendants’ campaigns had up to almost one hundred different varieties

     of fraudulent swipes for Defendants and their sub-affiliates to use.

             69.    Even though Defendants and/or sub-affiliates sent the swipes to prospective

     customers, those emails often appeared as though the fictional character(s) depicted in the



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     VSL for the campaign sent the communications. Defendants made it appear as though

     emails to prospective customers came from the owner or support department of the

     advertised System so the solicitation looked more persuasive and credible.

             70.        For example, on or about February 23, 2016, an email was sent out

     purportedly on behalf of “PMA company.” That email–signed by the fake founders of the

     fake PMA company–was replete with the following false statements:

                        We have just closed a special deal with one of our major
                        brokers. Everyone that registers their PMA App today gets a
                        matching deposit bonus . . . up to $10k if you’re so fortunate
                        . . . Just in the past 24 hrs the PM App has made the new
                        members a combined $118,927.36. Just in the last 24hrs! My
                        friend, you are missing out on serious money if you haven’t
                        activated your app yet. I know last year you were scammed
                        with Binary Options bots. Trust me, this is not one of those
                        scams. Not even close. PMA Company received the Most
                        Profitable Trading System award at the NY convention of
                        2015. Yes we are a real legit company that really wants to help
                        you become filthy rich.

     In fact, Defendants sent out that email, the trading results of purported users in the email

     were fake, there were no “beta testers” or 2015 convention, and there was never a company

     called PMA Company. The email included no disclosures about hypothetical or simulated

     trading results.

             71.        In May 2016, Defendants, through the same fictitious PMA founders, sent

     various emails to a disabled veteran living on disability payments, reminding the recipient to

     fund a trading account “to make possibly 7 figures in 180 days just like our first group of

     beta testers!” One email stressed the “limited availability” of PMA and urged that customer

     to fund his account “so you’ll be able to start making money right away.” These emails




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     included fake trading profits, false time limits, and no disclosures about hypothetical or

     simulated trading results.

            72.     Defendants’ solicitation emails included testimonials, but the emails did not

     disclose that the testimonial was no guarantee of future performance or success as required

     by Regulation 4.41(a)(3).

            73.     Defendants’ solicitation emails included simulated and/or hypothetical

     performance results but the emails did not disclose the fact that those results were simulated

     and/or hypothetical in immediate proximity to those statements as required by Regulation

     4.41(b)(2).

            74.     Defendants, directly and/or indirectly, sent tens of millions of binary options

     solicitations during the relevant period.

     D.     Defendants’ Websites Featured Elaborate Sales Videos Designed to Deceive
            Prospective Customers to Open and Fund Binary Options Accounts

            75.     All of Defendants’ campaign websites featured at least one VSL that depicted

     a fictional story about a Trading System portrayed by paid actors representing fictional

     characters making false or misleading statements about the Trading System’s trading results,

     risk of loss, and profits earned. Defendants intentionally or recklessly disseminated each of

     these fictional VSLs with the false or misleading statements.

            76.     Defendants’ websites included simulated and/or hypothetical performance

     results but, to the extent any disclosure was present on the websites at all, the websites did

     not prominently disclose the fact that those results were simulated and/or hypothetical in

     immediate proximity to those statements as required by 17 C.F.R. § 4.41(b)(2).




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            77.     Defendants created at least seventeen (17) fraudulent VSLs on their own and

     launched VSLs Partner and/or others created on other occasions. Atkinson was proud of his

     fraudulent VSLs–he often bragged about the quality and realistic nature of the VSLs that he

     calls “movies.” Defendants intentionally or recklessly included materially false or

     misleading statements in the VSLs streamed on their campaign websites.

            78.     Atkinson either wrote the script for Defendants’ VSLs or he retained a

     copywriter, Copywriter A, to do so. For each campaign, Atkinson or Copywriter A created a

     fictional story about the advertised System and reported made-up results and success stories

     purportedly from use of that System. Atkinson has never traded binary options and does not

     know of any real customers’ experience(s) that could serve as the basis for events portrayed

     in Defendants’ scripts and corresponding VSLs.

            79.     When he did not write the script himself, Atkinson generally provided an idea

     for the story and directed Copywriter A to make it up and make it sound good. Atkinson

     reviewed Copywriter A’s scripts, often made edits, and approved the final version before

     sending final payment from AIP’s account. During the Relevant Period, paid Copywriter A

     at least $85,000.

            80.     Consequently, the VSLs written by Atkinson and Copywriter A were replete

     with false or misleading statements. Atkinson even bragged to other affiliate marketers,

     copywriters and Video Producer A about his skill at drafting convincing fictitious copy and

     about using Copywriter A, the “best copy writer money can buy (think movie

     scripts/infomercial status).”




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            81.     Defendants were assisted by Video Producer A and his media company, who

     created VSLs from Defendants’ scripts. Defendants had substantial input into the VSLs

     created by Video Producer A, including by providing him with images of bank and trading

     account statements, selecting the setting or location for the shoot, and choosing the actors

     who would bring the script to life on screen. Atkinson reviewed and often made comments

     or proposed edits to the VSL before approving and paying for the VSL and knew that Video

     Producer A’s VSLs contained false or misleading information

            82.     Defendants reviewed the final version of each AIP binary options VSL before

     publishing it on their campaign websites.

            83.     Defendants’ VSLs included purported trading profits, actors portrayed as the

     founders of the marketed Trading System with vast experience in trading, and other

     misrepresentations designed to assure the viewer that the information relayed was real even

     though everything was fake. When publishing the VSLs, Defendants knew that the VSLs did

     not reflect real people’s results from use of the marketed Trading System.

            84.     On at least two occasions, Partner provided Defendants with binary options

     VSLs that included materially false and misleading statements. In launching marketing

     campaigns, Defendants in turn intentionally or recklessly used those VSLs which included

     those same materially false or misleading statements.

            85.     Defendants also earned commissions promoting at least nine additional binary

     options VSLs procured by other affiliates, including Partner, which included materially false

     or misleading statements. Defendants subsequently intentionally or recklessly disseminated




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     those VSLs knowing or recklessly disregarding that they included materially false or

     misleading statements.

            86.       Defendants designed the VSLs they published on the internet to be deceptive

     or misleading. Atkinson even mocked United States recipients of his fraudulent solicitations

     as “stupid” and bragged, “I guess that’s why I love living here easy scammin [(sic)] [.]”

                      i. Deceptive Props & Characters

            87.       Defendants’ wanted the VSLs to make it appear as though the advertised

     System resulted in wealth and to create an overall “life of the rich and famous” image. The

     lavish props depicted in Defendants’ VSLs were designed to mislead viewers into believing

     that success with the advertised System enabled the characters to live such lifestyles.

            88.       Defendants’ VSLs included props like luxury vehicles, a private jet, and

     mansions–all rented to create the video and not in fact owned or purchased by any user of the

     advertised System. Atkinson or Copywriter A either specified the type of lavish props to use

     and/or approved all props included in the VSLs Video Producer A created for Defendants.

            89.       None of Defendants’ binary options VSLs involved real users or creators of

     the advertised System.     As scripted, the actors brazenly lied in the videos about their role

     and the fictional story line. For example, the SMS VSL included the following false

     statements delivered by an actor:

                      “See anyone can throw numbers around and whip up some
                      proof shots. All the scammers do it. This isn’t that. This is a
                      completely different playing field. And you’re going to see
                      real proof . . . you can’t deny . . . and . . . in a way you’ve never
                      seen before in your life.”

                     “Everything I’m about to tell you is 100% real and was
                      experienced by me firsthand.”


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     All of those statements were fabricated by and/or on behalf of Defendants.

             90.    Similarly, in the PMA VSL that Video Producer A created, one fictional scene

     includes a purported “founder” of PMA who received a telephone call “live” from a “new

     subscriber named Tommy Radcliffe” who says he “just signed up” and already made $345.

     The “founder” responds: “Okay, well, that is definitely 100% accurate and real. That is your

     money my friend and it’s only going to compound from there as long as you keep the

     software in the ON position.” Contrary to the representations in the video, everything in that

     scene was fictitious.

             91.    Atkinson understood that the more realistic and sympathetic the characters,

     the more likely viewers would respond favorably. He told other Affiliates: “I did one where

     the kid was dying of cancer . . . and dad was given the system so he could make money to

     save his kids [(sic)] life. It converted great. But get this [an affiliate network] banned it!

     LOL!”

             92.    Defendants intentionally or recklessly disseminated VSLs with props and

     characters that were fake, unrelated to actual users of or results derived from the advertised

     Trading System, and likely to mislead prospective customers.

                    ii. False “Live Trading Results”

             93.    Defendants’ VSLs that depicted historical and/or live trading results were

     fake.

             94.    Defendants knew that going the extra mile with “crazy social proof” resulted

     in more conversions because the fraudulent solicitation looked more credible and persuasive.

     Atkinson advised other Affiliates: “whats big show the software making trades and making


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     money . . . also send these stupid f*ckin buyers a sick video follow up I do this on IM shit too

     now it crushes.”

            95.     For example, the VSL for CC portrays “Robert Allen” as the star. Allen, a

     doctor, apparently received the CC System from a “true billionaire” and “financial mogul” on

     his deathbed after Allen cared for him in the hospital. The VSL shows screenshots of Allen’s

     trading account from July 2009 through August 2009 and also a “live” video of the account

     with big red letters across the screen, “LIVE ONLINE PROOF.” Allen explains that he

     “just” deposited $250 “risk-free” into his account and he will “show you the money it makes

     LIVE over the next 60 seconds. We can back up every word we say with real life results.”

     The VSL shows the account increasing nine times then settling at $356,910 in the span of

     one minute. However, Robert Allen was a fictional character portrayed by an actor, there

     was no billionaire mogul creator, and Allen had no trading account from 2009 or any trading

     profits from the CC System. Indeed, Video Producer A fabricated the trading result “proof”

     displayed in the video at Atkinson’s request.

            96.     Likewise, in the Fast Cash VSL, “Madison Clark” and “David Graham” claim

     that the FC System made them over $55 million in three years. The video shows various

     bank account statements with millions of dollars and “Clark’s” account at fastcash.biz with

     over $3.5 million. “Clark” then purports to log in live “so you know this is 100% real and

     cannot be faked.” The binary options trading account screenshot shows a balance over $9.3

     million and various foreign exchange transactions she had supposedly executed and profited

     from. Clark, Graham, the account screenshots, and depicted results were fabricated.




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     Defendants either supplied Video Producer A with that fake proof or Video Producer A

     fabricated it at Atkinson’s request.

                   iii. False Proof & Testimonials

            97.     Defendants’ VSLs included fake “testimonials” of purported users of the

     advertised System. For Defendants’ VSLs, Atkinson wrote and/or directed Copywriter A to

     draft testimonials based on fictional characters’ pretend experiences and false results. AIP

     Defendants intentionally or recklessly disseminated the false testimonials as part of their

     marketing campaigns..

            98.     The testimonials included in Partner’s videos were also fiction. Defendants

     also intentionally or recklessly disseminated these false testimonials as part of their

     marketing campaigns

            99.     The testimonials often stressed that users had achieved success quickly, but all

     of those statements were made up.

            100.    For example, in the same VSL, “Alexandra,” who purportedly had just opened

     a binary options trading account, made $202 in sixty seconds.

            101.    In the FMS VSL, two individuals said they became millionaires in three

     months, and screenshots of false bank and PayPal accounts accompanied their testimonials.

            102.    In the FC VSL, “Gordon Powers,” a 61 year old army veteran suffering from

     osteoporosis claimed that he deposited $250 in his trading account and “Ten minutes in just

     like they promised, I had over eleven thousand dollars in my brokerage account.”




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             103.    In the PMA VSL, Video Producer A fabricated all bank account, trading

     account, and checks reflected in the VSL, including the fake company’s checks (signed by

     the fake founder) displayed as proof to support the false testimonials, at Defendants’ request.

             104.    Defendants intentionally or recklessly included materially false or misleading

     statements in all the VSL testimonials that they disseminated or made available to

     prospective customers as Affiliates or sub-affiliates. Atkinson knew that his false

     testimonials worked and bragged about re-using some with customers that had previously

     taken the bait: “I’m trying to scam the BCC leads [from the BCC campaign] with 18 fake

     testimonials from BCC[.]”

             105.    The testimonials in Defendants’ binary options VSLs also failed to

     prominently disclose that they may not represent the experience of other users of the

     advertised System, that the testimonial was not a guarantee of future performance or that the

     testimonial was entirely fake and represented by paid actors or misappropriated images from

     the internet.

                     iv. False Guarantees of Profits

             106.    Defendants’ binary option campaigns not only included false profits, but they

     also purported to guarantee those profits:

                    In CC, the viewer is told: “And our success rate? It’s pretty
                     clear. It’s 100% accuracy. All of our clients are financially
                     independent within 60 days of using this system . . . on
                     average.” The VSL concludes with: “As I always say . . . a
                     system either works or it doesn’t. And if it works . . . it works
                     every time. And this one works. Period.”

                    The AMA campaign promised:




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                         o “In sum total . . . we know . . . you will be earning at
                           least $300,000 per month–also known as . . . $3.6
                           million dollars per year . . . starting just 30 days from
                           now . . . just as sure as 1 plus 1 equals 2. Gosh, I love
                           numbers! These are mathematical certainties . . . .”

                         o “The Auto Money App only picks winning trades . . .
                           These brokers only work for the Auto Money App and
                           they are designed to make sure your initial deposit turns
                           you into a millionaire in 90 days or less.”

                     FMS promised, “I’m going to make you a millionaire in 3
                      months tops[.]”

                     SMS includes: “And when you do get to the end of this video,
                      you will also be rewarded with a guaranteed $1000 in your first
                      60 seconds and $10,000 in your first two days for free . . .
                      There will be no losses. None at all.”

            107.      Defendants’ VSLs also generally described use of the System as “risk-free.”

            108.      The VSLs that Defendants used in their campaigns did not disclose any risks

     of trading binary options in commodity futures, swaps, and/or foreign exchange.

                      v. Falsely Describing Trading Systems as Automated Trading

            109.      Defendants’ binary options campaigns further touted how easy it was for a

     customer to make money with the system “automatically.” For example, AMA’s solicitation

     claimed: “My system trades binary options for you on complete autopilot. You only have to

     push one button to make money and you actually earn money in 60 seconds.”

            110.      FC and other VSLs make similar claims: “We make hundreds of dollars and

     even thousands of dollars every 60 seconds on autopilot with the Fast Cash Biz.”

            111.      In GG, the System “creator” focuses on the ease of earning profits

     automatically:




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                       “I put $200 in here to start, I fired up the software and took
                        my wife out for breakfast. When I got home and checked
                        the account and there was already $390 in it.”

                       “A profit of $4550 streamed into my account [since the day
                        before] while I spent the day playing with my wife.”

            112.    However, the Trading Systems which Partner supplied for Defendants’ binary

     options campaigns were not programmed to auto-trade accounts on behalf of customers but

     rather to provide trading signals from which users could make trading decisions themselves.

                   vi. False Urgency

            113.    Other common false or misleading statements in Defendants’ binary options

     campaigns involve the limited availability of the marketed Trading System, or some

     restriction on the amount of time left to take advantage of the opportunity. These lies appear

     in VSLs, on Defendants’ binary options websites and in email solicitations to prospective

     customers.

            114.    For example, in the CC VSL, the actor falsely claims that the link to the VSL

     is only sent to a limited number of individuals, they accept 10 people a day, and the recipient

     must act quickly because the “button” to register is only available for ten minutes.

            115.    The VSL on the members’ page for FMS reiterates the urgency for

     prospective customers to take action:

            you have exactly 10 minutes to complete your registration process. Your
            chance to make millions will expire if you don’t take action right now . . . .
            To date, I’ve had 152 members get free access to my system and
            combined they have made over $148 million dollars . . . you’ll be a
            millionaire before you know it, but only if you act right now.

            116.    In fact, Defendants widely disseminated their binary options campaigns to

     millions of email addresses. Also, Defendants’ binary options campaigns often generated


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     revenues for Defendants and/or their sub-affiliates for months after Defendants launched the

     funnel.

               E.     Defendants Tried to Cover Their Tracks

               117.   In or about October or November 2016, Defendants removed and/or disabled

     access to AIP’s binary options campaign websites.

               118.   In or about October or November 2016, Defendants deleted and/or otherwise

     destroyed VSLs, emails, websites, and/or other documents and communications related to

     binary options, including Skype communications and materials related to Facebook.

               119.   Defendants deleted, destroyed, and/or disabled access to documents and

     communications involving binary options after Defendants received a subpoena requesting

     those materials from a federal agency.

     F.        Defendants Successfully Scammed Tens of Thousands of Individuals

               120.   Between October 2013 and June 2016, AIP’s account received over twenty-

     seven million dollars ($27,000,000) resulting from Defendants’ affiliate marketing activities,

     including, and primarily, fraudulent binary options solicitations. Of those earnings,

     Defendants received the majority from accounts that Partner controlled, but also got

     payments from Brokers, Broker intermediaries, payment processors, and affiliate networks,

     among others. A portion of Defendants’ earnings stemmed from their role as sub-affiliates

     for other fraudulent binary options campaigns.

               121.   Between October 2013 and October 2016, AIP deposited over one million and

     eight hundred thousand dollars ($1,800,000) into a Gasher bank account.




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            122.    Between January 2014 and June 2016, at least 51,000 new customers opened

     and funded binary options trading accounts in connection with fraudulent campaigns

     involving Defendants and Partner.

            123.    The amount of money customers deposited when opening a new account

     varied. Generally, customers were required to deposit at least $250 initially. For campaigns

     that Defendants worked with Partner, the 51,000 customers that opened new accounts

     between January 2014 and June 2016 thus deposited at least $12,750,000 in trading accounts

     after making it through Defendants’ deceptive binary options funnels.

            124.    The amount of total customer deposits was much higher as Brokers continued

     to solicit customers to deposit additional funds, often relying on Defendants’ marketing

     materials to do so. For example, one Broker told Partner that for one month he owed

     Defendants $8,040 in commission payments based on 804 new customers resulting from

     Defendants’ campaigns. Those customers apparently deposited $931,902 for that month

     alone. The 804 new customer accounts represented only a fraction of the 12,554 individuals

     who went through Defendants’ funnel all the way to open and fund a new account.

            125.    Tens of millions of individuals received Defendants’ fraudulent solicitations.

     For example, in less than 3 weeks, the PMA website had over 2 million visitors and the

     campaign generated commissions for Defendants for almost nine months.

     F.     There Is Evidence that the Illegal Marketing Campaigns Are Ongoing

            126.    Upon information and belief, Passerino and Gasher continued working with

     Partner in connection with fraudulent solicitations related to binary options, forex, and/or

     CFD campaigns until at least April 2018. Bank records reveal that Passerino has received



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     over one million ($1,000,000) from Partner or accounts controlled by Partner’s between

     November 2016 and April 2018.

             VI.     VIOLATIONS OF THE COMMODITY EXCHANGE ACT AND
                                    REGULATIONS

                                              COUNT ONE

        Violation of Section 4c(b) of the Act, 7 U.S.C. § 6c(b) (2012), and Regulation 32.4,
                                       17 C.F.R. § 32.4 (2018)
                                    Defendants’ Options Fraud

             127.    The allegations in the foregoing paragraphs are incorporated by reference as if

     fully set forth herein.

             128.    7 U.S.C. § 6c(b) makes it unlawful for any person to offer to enter into, enter

     into, or confirm the execution of, any transaction involving any commodity regulated under

     the Act which is of the character of, or is commonly known to the trade as, inter alia, an

     “option”, “bid”, “offer”, “put”, or “call”, contrary to any rule, regulation, or order of the

     Commission prohibiting any such transaction or allowing any such transaction under such

     terms and conditions as the Commission shall prescribe.

             129.    17 C.F.R. § 32.4 provides that, in or in connection with an offer to enter into,

     the entry into, or the confirmation of the execution of, any commodity option transaction, it

     shall be unlawful for any person directly or indirectly: (a) to cheat or defraud or attempt to

     cheat or defraud any other person; (b) to make or cause to be made to any other person any

     false report or statement thereof or cause to be entered for any person any false record

     thereof; or (c) to deceive or attempt to deceive any other person by any means whatsoever.

             130.    Defendants intentionally or recklessly used fraudulent solicitations in emails,

     websites, and fictitious VSLs promising free access to Trading Systems to induce prospective


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     customers to open and fund a binary options trading account with a recommended Broker so

     that Defendants could earn commissions.

             131.    During the Relevant Period, Defendants, by the conduct alleged in the

     foregoing paragraphs, in or in connection with an offer to enter into, the entry into, or the

     confirmation of the execution of, any commodity option transaction directly or indirectly:

     (a) cheated or defrauded, and attempted to cheat and defraud, customers and prospective

     customers; (b) made or caused to be made to customers and prospective customers false

     reports or statements; and (c) deceived or attempted to deceive customers and prospective

     customers, in violation of 7 U.S.C. § 6c(b) and 17 C.F.R. § 32.4.

             132.    The foregoing acts, misrepresentations and omissions of Atkinson and

     Passerino occurred within the scope of their employment, office or agency with AIP.

     Therefore, AIP is liable for their acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

             133.    The foregoing acts, misrepresentations and omissions of Passerino occurred

     within the scope of his employment, office or agency with Gasher. Therefore, Gasher is

     liable for his acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

             134.    Each defendant is liable for the acts, omissions, or failures of agents,

     employees, or persons otherwise acting for that defendant, pursuant to 7 U.S.C. § 2(a)(1)(B)

     and 17 C.F.R. § 1.2.

                                              COUNT TWO

                     Violation of Section 4o(1) of the Act, 7 U.S.C. § 6o(1)(2012):
                                     Defendants’ Fraud as a CTA

             135.    The allegations in the foregoing paragraphs are incorporated by reference as if

     fully set forth herein.


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             136.     During the Relevant Period, Defendants acted as CTAs by disseminating for

     compensation numerous and varied marketing materials which advised customers and

     prospective customers to open binary options accounts and use purportedly successful

     trading systems to trade those accounts.

             137.     7 U.S.C. § 6o(1) makes it unlawful for a CTA, using the instrumentalities of

     interstate commerce, directly or indirectly:

                      (A)     Employ any device, scheme, or artifice to defraud any
                      client or participant or prospective client or participant; or
                      (B)     To engage in any transaction, practice or course of
                      business which operates as a fraud or deceit upon any client or
                      participant or prospective client or participant.

             138.     Defendants fraudulently solicited members of the public and created and/or

     disseminated fraudulent websites and emails to induce members of the public to go through

     their funnel to open and fund new binary options trading accounts with a recommended

     Broker to access the advertised trading System. For each of Defendants’ binary options

     campaigns, including but not limited to the twenty (20) Defendants launched and at least nine

     (9) others they disseminated, Defendants repeatedly misrepresented, among other things:

     (i) hypothetical and fictitious trading results as real results; (ii) actors as true users of the

     Trading Systems; (iii) the fictitious experience, background and skill of the “creators” of the

     Trading Systems; (iv) fabricated testimonials; and/or (v) that the Trading Systems traded

     automatically.

             139.     During the Relevant Period, Defendants, by the conduct alleged in the

     foregoing paragraphs, while acting as CTAs, used the instrumentalities of interstate

     commerce and: (a) employed numerous devices, schemes, or artifices to defraud clients and



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     prospective clients; and (b) engaged in transactions, practices, and courses of business which

     operated as a fraud or deceit upon clients and prospective clients, in violation of 7 U.S.C.

     § 6o(1).

             140.    The foregoing acts, misrepresentations and omissions of Atkinson and

     Passerino occurred within the scope of their employment, office or agency with AIP.

     Therefore, AIP is liable for their acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

             141.    The foregoing acts, misrepresentations and omissions of Passerino occurred

     within the scope of his employment, office or agency with Gasher. Therefore, Gasher is

     liable for his acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

             142.    Each defendant is liable for the acts, omissions, or failures of agents,

     employees, or persons otherwise acting for that defendant, pursuant to 7 U.S.C. § 2(a)(1)(B)

     and 17 C.F.R. § 1.2.

                                            COUNT THREE

       Violation of Regulation 4.41(a)(1)-(3), (b)(1)-(2), 17 C.F.R. § 4.41(a)(1)-(3), (b)(1)-(2)
                                               (2018):
                               Defendants’ Fraudulent Advertising

             143.    The allegations in the foregoing paragraphs are incorporated by reference as if

     fully set forth herein.

             144.    17 C.F.R. § 4.41(a)(1)-(2) prohibit fraudulent advertising by a CTA.

             145.    17 C.F.R. § 4.41(a)(3) makes it unlawful for any CTA to refer to any

     testimonial, unless the advertisement or sales literature providing the testimonial prominently

     discloses, in pertinent part: (i) that the testimonial may not be representative of the




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     experience of other clients; (ii) that the testimonial is no guarantee of future performance or

     success; and (iii) If, more than a nominal sum is paid, the fact that it is a paid testimonial.

            146.    17 C.F.R. § 4.41(b) makes it unlawful for any CTA to present simulated or

     hypothetical performance commodity interest account or transaction or series of transactions

     unless the statement below is prominently disclosed “in immediate proximity to the

     simulated or hypothetical performance being presented”:

                    These results are based on simulated or hypothetical
                    performance results that have certain inherent limitations.
                    Unlike the results shown in an actual performance record, these
                    results do not represent actual trading. Also, because these
                    trades have not actually been executed, these results may have
                    under-or-over-compensated for the impact, if any, of certain
                    market factors, such as lack of liquidity. Simulated or
                    hypothetical trading programs in general are also subject to the
                    fact that they are designed with the benefit of hindsight. No
                    representation is being made that any account will or is likely
                    to achieve profits or losses similar to these being shown.

            147.    During the Relevant Period, Defendants each acted as a CTA.

            148.    Each of the binary options advertising campaigns that Defendants launched

     and/or disseminated, including the twenty-nine (29) identified herein were rife with

     materially false or misleading statements.

            149.    Defendants’ promotional materials, including emails, websites and VSLs,

     refer to testimonials in their binary options campaigns. Defendants did not, however,

     prominently disclose for each testimonial that it may not represent the experience of other

     users of the advertised System, that the testimonial was not a guarantee of future

     performance or that the testimonial was entirely fake and represented by paid actors or

     misappropriated images from the internet.




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             150.   Defendants’ promotional materials, including emails, websites and VSLs,

     further depicted fabricated performance results of binary options transactions in, among other

     instruments, commodity futures, options, swaps and forex, without displaying the required

     disclosure in immediate proximity to those statements. To the contrary, the VSLs repeatedly

     referred to trading performance, activity and results as “real” and depicted “live.”

             151.   By the conduct alleged in the foregoing paragraphs, Defendants advertised in

     a manner that was fraudulent and failed to include the required disclosures for hypothetical or

     simulated trading performance and testimonials in violation of 17 C.F.R. § 4.41(a)(1)-(3) and

     (b)(1)-(2).

             152.   The foregoing acts, misrepresentations and omissions of Atkinson and

     Passerino occurred within the scope of their employment, office or agency with AIP.

     Therefore, AIP is liable for their acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

             153.   The foregoing acts, misrepresentations and omissions of Passerino occurred

     within the scope of his employment, office or agency with Gasher. Therefore, Gasher is

     liable for his acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

             154.   Each defendant is liable for the acts, omissions, or failures of agents,

     employees, or persons otherwise acting for that defendant, pursuant to 7 U.S.C. § 2(a)(1)(B)

     and 17 C.F.R. § 1.2.




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                                             COUNT FOUR

          Section 6(c)(1) of the Act,7 U.S.C. § 9(1) (2012) and Regulation 180.1(a)(1)-(3),
                                  17 C.F.R. § 180.1(a)(1)-(3) (2018)
                Defendants’ Manipulative & Deceptive Device, Scheme or Artifice

             155.    The allegations set forth in the paragraphs above are re-alleged and

     incorporated herein by reference.

             156.    Section 1a(47)(A) of the Act, 7 U.S.C. § 1a(47)(A) (2012), defines “swap” to

     include, among other things, any agreement, contract, or transaction that: (a) is an option of

     any kind; (b) provides for payment dependent on the occurrence, nonoccurrence, or the

     extent of the occurrence of an event or contingency; or (c) provides on an executory basis for

     payments based on the value or level of one or more interest or other rates, currencies,

     commodities, securities, instruments of indebtedness, indices, quantitative measures, or other

     financial or economic interests or properly of any kind, without also conveying an ownership

     interest in any asset or liability.

             157.    7 U.S.C. § 9(1) provides in relevant part, “[i]t shall be unlawful for any

     person, directly or indirectly, to use or employ or attempt to use or employ, in connection

     with any swap, or a contract of sale of any commodity in interstate commerce, or for future

     delivery on or subject to the rules of any registered entity, any manipulative or deceptive

     device or contrivance, in contravention of such rules and regulations as the as the

     Commission shall promulgate….”

             158.    17 C.F.R. § 180.1(a)(1)-(3) provides in relevant part, that it shall be unlawful

     for any person, in directly or indirectly:

                     In connection with any swap, or contract of sale of any commodity in
                     interstate commerce, or contract for future delivery on or subject to the


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                     rules of any registered entity, to intentionally or recklessly: (1) Use or
                     employ, or attempt to use or employ, any manipulative device,
                     scheme, or artifice to defraud; (2) Make, or attempt to make, any
                     untrue or misleading statement of materials fact or to omit to state a
                     material fact necessary in order to make the statements made not
                     untrue or misleading; (3) Engage, or attempt to engage, in any act,
                     practice, or course of business, which operates or would operate as a
                     fraud or deceit upon any person …

             159.    Defendants’ campaigns advertised free access to Trading Systems trading

     swaps, as defined by the Act.

             160.    Defendants intentionally or recklessly used fraudulent solicitations in emails,

     websites, and fictitious VSLs promising free access to their Trading Systems to induce

     prospective customers to go through their funnel and open and fund a binary options trading

     account with their recommended Broker to earn commissions.

             161.    Defendants relied on Partner to serve as a liaison with Broker and follow up

     on Defendants’ leads to increase the number of conversions and their corresponding

     commissions. Defendants also relied on Copywriter A and Video Producer A to help

     Defendants carry out their fraudulent solicitation scheme.

             162.    Defendants further intentionally or recklessly disseminated fraudulent

     solicitations on behalf of other Affiliates and earned commissions as a result of their

     activities. .

             163.    During the Relevant Period, Defendants, by the conduct alleged in the

     foregoing paragraphs, directly and indirectly, in connection with swaps intentionally or

     recklessly,: (a) used or employed, or attempted to use or employ, manipulative devices,

     schemes, and artifices to defraud; (b) made, or attempted to make, untrue or misleading

     statement of a material fact; (c) omitted to state material facts necessary in order to make


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     statements made not untrue or misleading; and (d) engaged, or attempted to engage, in acts,

     practices, and courses of business, which operated or would operate as a fraud or deceit upon

     customers and prospective customers, in violation of 7 U.S.C. § 9(1) and 17 C.F.R.

     § 180.1(a)(1)-(3).

            164.    The foregoing acts, misrepresentations and omissions of Atkinson and

     Passerino occurred within the scope of their employment, office or agency with AIP.

     Therefore, AIP is liable for their acts pursuant to Section 2(a)(1)(B) of the Act, 7 U.S.C.

     § 2(a)(1)(B), and Regulation 1.2, 17 C.F.R. § 1.2.

            165.    The foregoing acts, misrepresentations and omissions of Passerino occurred

     within the scope of his employment, office or agency with Gasher. Therefore, Gasher is

     liable for Passerino’s acts pursuant to 7 U.S.C. § 2(a)(1)(B) and 17 C.F.R. § 1.2.

            166.    Each defendant is liable for the acts, omissions, or failures of agents,

     employees, or persons otherwise acting for that defendant, pursuant to 7 U.S.C. § 2(a)(1)(B)

     and 17 C.F.R. § 1.2.

                                    VII.    RELIEF REQUESTED

            167.    WHEREFORE, the Commission respectfully requests that this Court, as

     authorized by Section 6c of the Act, 7 U.S.C. § 13a-1 (2012), and pursuant to the Court’s

     own equitable powers:

            a.      Find that Defendants violated Sections 4c(b), 4o(1), and 6(c)(1) of the Act,

                    7 U.S.C. §§ 6c(b), 6o(1), 9(1) (2012), and Regulations 4.41(a)(1)-(3) and

                    (b)(1)-(2), 32.4, and 180.1(a)(1)-(3), 17 C.F.R. §§ 4.41(a)(1)-(3), (b)(1)-(2),

                    32.4, 180.1(a)(1)-(3) (2018).



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           b.         Enter an order of permanent injunction enjoining Defendants, and their

                      affiliates, agents, servants, employees, successors, assigns, attorneys, and all

                      persons in active concert with them, who receive actual notice of such order

                      by personal service or otherwise, from engaging in the conduct described

                      above, in violation of 7 U.S.C. §§ 6c(b), 6o(1), and 9(1), and 17 C.F.R.

                      §§ 4.41(a)(1)-(3) and (b)(1)-(2), 32.4, and 180.1(a)(1)-(3).

           c.         Enter an order of permanent injunction prohibiting Defendants and any of

                      their affiliates, agents, servants, employees, assigns, attorneys, and persons in

                      active concert or participation with them, from directly or indirectly:

                  i.         Trading on or subject to the rules of any registered entity (as that term

                             is defined in Section 1a(40) of the Act, 7 U.S.C. § 1a(40));

                ii.          Entering into any transactions involving “commodity interests” (as that

                             term is defined in Regulation 1.3, 17 C.F.R. § 1.3 (2018)) for

                             Defendants’ own personal accounts or for any accounts in which

                             Defendants have a direct or indirect interest;

                iii.         Having any commodity interests, traded on Defendants’ behalf;

                iv.          Controlling or directing the trading for or on behalf of any other

                             person or entity, whether by power of attorney or otherwise, in any

                             account involving commodity interests;

                 v.          Soliciting, receiving or accepting any funds from any person for the

                             purpose of purchasing or selling any commodity interests;




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                vi.       Applying for registration or claiming exemption from registration with

                          the Commission in any capacity, and engaging in any activity

                          requiring such registration or exemption from registration with the

                          Commission, except as provided for in Regulation 4.14(a)(9),

                          17 C.F.R. § 4.14(a)(9) (2018); and

                vii.      Acting as a principal (as that term is defined in Regulation 3.1(a),

                          17 C.F.R. § 3.1(a) (2018)), agent or any other officer or employee of

                          any person (as that term is defined in Section 1a of the Act, 7 U.S.C.

                          § 1a) registered, exempted from registration or required to be

                          registered with the Commission except as provided for in 17 C.F.R.

                          § 4.14(a)(9).

           d.      Enter an order directing Defendants, as well as any third-party transferee

                   and/or successors thereof, to disgorge to any officer appointed or directed by

                   the Court all benefits received including, but not limited to, salaries,

                   commissions, loans, fees, revenues, and trading profits derived, directly or

                   indirectly, from acts or practices that constitute violations of the Act and the

                   Regulations, including pre- and post-judgment interest;

           e.      Enter an order directing Defendants, as well as any successors thereof, to

                   make full restitution to every person or entity whose funds Defendants

                   received or caused another person or entity to receive as a result of acts and

                   practices that constituted violations of the Act and the Regulations, as




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                 described herein, and pre- and post-judgment interest thereon from the date of

                 such violations;

           f.    Enter an order directing Defendants to pay civil monetary penalties, to be

                 assessed by the Court, in an amount not more than the penalty prescribed by

                 Section 6c(d)(1) of the Act, 7 U.S.C. § 13a-1(d)(1) (2012), as adjusted for

                 inflation pursuant to the Federal Civil Penalties Inflation Adjustment Act

                 Improvements Act of 2015, Pub. L. 114–74, 129 Stat. 584 (2015), title VII,

                 Section 701, see Commission Regulation 143.8, 17 C.F.R. § 143.8 (2018), for

                 each violation of the Act, as described herein;

           g.    Enter an order requiring Defendants to pay costs and fees as permitted by

                 28 U.S.C. §§ 1920 and 2412(a)(2) (2012); and

           h.    Enter an Order providing such other and further relief as this Court may deem

                 necessary and appropriate.




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           Dated: September 27, 2018

                                                    Respectfully submitted,

                                                    /s/ Allison V. Passman

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